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     A.L., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: Kay. W., Kai.W., E.W., D.W., and S.W. No. 25SC49Supreme Court of Colorado, En BancMarch 3, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA358
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    